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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS                      FILED
                                     AUSTIN DIVISION           December 22, 2021
                                                                            CLERK, U.S. DISTRICT COURT
RESTAURANT LAW CENTER and                            §                      WESTERN DISTRICT OF TEXAS
TEXAS RESTAURANT ASSOCIATION,                        §                              Julie Golden
                                                                         BY: ________________________________
                                                     §                                           DEPUTY
        Plaintiffs,                                  §
                                                     §
v.                                                   §                 1:21-CV-1106-RP
                                                     §
UNITED STATES DEPARTMENT OF                          §
LABOR; MARTIN J. WALSH, Secretary of the             §
United States Department of Labor, in his official   §
capacity; and JESSICA LOOMAN, Acting                 §
Administrator of the Department of Labor Wage and    §
Hour Division, in her official capacity,             §
                                                     §
        Defendants.                                  §

                                                 ORDER

        Before the Court is Plaintiffs Restaurant Law Center and Texas Restaurant Association’s

Motion for Preliminary Injunction and Request for Expedited Consideration. (Dkt. 12).

        IT IS ORDERED that the parties appear by telephone for a scheduling conference on this

motion on December 23, 2021 at 9:00 a.m. The parties are directed to use the below dial-in

information:

        **Please call in 5 minutes prior to start of conference.**

        1. Toll free number: 888-363-4735
        2. Access code: 3948919

        If there are questions regarding the conference, the parties should contact Julie Golden,

Courtroom Deputy, at julie_golden@txwd.uscourts.gov.

        SIGNED on December 22, 2021.


                                                _____________________________________
                                                ROBERT PITMAN
                                                UNITED STATES DISTRICT JUDGE
